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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NORTH CAROLINA

CHARLOTTE DIVISION
3:19-CV-412
)
MONTI ANTONIO S.P.A., )
) Certified tobe a true ang
Plaintiff ) rorfect copy of the origlital
) U.S. Distriet Court
) Frank G Johns, Gierk
Vv. 5 oe istrict of N.C
SUBLITECH, INC. ) - pSbuty Clik
d/b/a SUBLITECH AMERICAS, INC., et al. ) Date- A= 2-2029~
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Defendants )
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)

This case is before the Court on Plaintiff's Motion for Default Judgment (Doc. No. 23).
Having considered Plaintiffs Motion, Memorandum (Doc. No. 24), and Affidavits in Support
(Docs. Nos. 23-1 — 23-8), and for good cause shown, the Court GRANTS Plaintiff's Motion under
Fed. R. Civ. P. 55(b)(2). Accordingly, Plaintiff shall be permitted to recover $500,751.65 from
the Defendants, jointly and severally, with prejudgment interest from August 22, 2019, and costs.
The Clerk is respectfully DIRECTED to ENTER JUDGMENT and CLOSE THE CASE.

IT IS SO ORDERED.

Signed: July 22, 2020

Max O. Cogburn Jr =
United States District Judge Fag

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